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                 IN THE UNITED STATES DISTRICT COURT
        FOR THE NORTHERN DISTRICT OF ILLINOIS, EASTERN DIVISION

THE HABITAT COMPANY LLC, and                        )
DANIEL E. LEVIN,                                    )
                                                    )
                Plaintiffs,                         )
         v.                                         )         No. 19-cv-00379
                                                    )
ELLEN H. DALEY, Chief Procurement Officer           )         Hon. John J. Tharp, Jr.
for General Services, in her official capacity, and )
KING HARRIS, KAREN DAVIS, MARY KANE, )
LUZ RAMIREZ, ALYSSA J. RAPP,                        )
SALVATORE TORNATORE, each in his or her )
official capacity as a member of the Board of       )
Directors of the Illinois Housing Development       )
Authority, and AUDRA HAMERNIK, in her               )
official capacity as the Executive Director of      )
the Illinois Housing Development Authority,         )
                                                    )
                Defendants.                         )

                  PLAINTIFFS’ NOTICE OF VOLUNTARY DISMISSAL
                         PURSUANT TO RULE 41(a)(1)(A)(i)

       Pursuant to Rule 41 (a)(1)(A)(i) of the Federal Rules of Civil Procedure, Plaintiffs

voluntarily dismiss the above-captioned action without prejudice. Defendants have not answered

the Complaint [Dkt No. 1] or the Amended Complaint [Dkt. No. 19], and have not filed motions

for summary judgment. Accordingly, dismissal is permitted without a court order under Fed. R.

Civ. P. 41(a)(1)(A)(i).

Dated: April 24, 2019                 Respectfully submitted,

                                      THE HABITAT COMPANY LLC, and
                                      DANIEL E. LEVIN

                                      By:         /s/ Edward W. Feldman
                                                     One of their lawyers
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